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15                                   UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF CALIFORNIA
16
                                                OAKLAND DIVISION
17

18 ROBIN BERMAN, BO KANG,                                   Case No. 4:17-CV-1864-HSG
   KHASHAYAR MIRFAKHRAEI, THANG
19 VAN VU, DONNA VIERA-CASTILLO,
   GIRISH RAMESH, PATRICK HANLEY,                           PLAINTIFFS’ NOTICE REGARDING
20 ILANA SHTERNSHAIN and MANDY                              SUBMITTED MATTER, LOCAL RULE 7-13
   SCHWARZ,
21
                Plaintiffs,                                 Judge:              Hon. Haywood S. Gilliam, Jr.
22
         v.
23                                                          Action Filed:       April 4, 2017
   MICROCHIP TECHNOLOGY                                     Trial Date:         Not Set
24 INCORPORATED, a corporation; ATMEL
   CORPORATION, a corporation; and ATMEL
25 CORPORATION U.S. SEVERANCE
   GUARANTEE BENEFIT PROGRAM, an
26 employee benefit plan,

27                  Defendants.
28



                                Plfs.’ Notice Re: Submitted Matter, Case No. 4:17-cv-1864-HSG
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1                 PLAINTIFFS’ NOTICE REGARDING SUBMITTED MATTER
                                   LOCAL RULE 7-13
2

3         Plaintiffs respectfully give notice under Local Rule 7-13 that Plaintiffs’ Motion for Partial
4 Summary Judgment (Dkt. 145) has been under submission for more than 120 days. The Court took

5 the motion under submission on October 6, 2021. See Dkt. 168.

6

7 Dated: June 27, 2022                            Respectfully submitted,
8                                                 By: /s/ Michael Rubin
                                                          Michael Rubin
9
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10                                                MICHAEL RUBIN
                                                  MATTHEW J. MURRAY
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                          Plfs.’ Notice Re: Submitted Matter, Case No. 4:17-cv-1864-HSG
